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Amor v. Cross, et al.
Case No. 18-CV-2523
Our File No. 18-4078




                             EXHIBIT 51
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

 WILLIAM AMOR,                                      )
                                                    )
              Plaintiff,                            )
                                                    )
              v.                                    )          Case No. 18-CV-2523
                                                    )
 NAPERVILLE POLICE OFFICER                          )          Hon. John Z. Lee
 MICHAEL CROSS, et al.,                             )
                                                    )
              Defendants.                           )
                                                    )

                     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO
                    INDIVIDUAL DEFENDANTS’ INTERROGATORIES

       Plaintiff Bill Amor, by and through his attorneys, Loevy & Loevy, supplements his

Answers to certain Interrogatories from the Individual Defendants’ First Sets of Interrogatories.

                                          OBJECTIONS

       Plaintiff’s investigation is ongoing as to all matters referenced in the objections and

responses below. Plaintiff’s objections and responses are based upon, and necessarily limited by,

information now reasonably available to Plaintiff. Plaintiff specifically reserves all rights to

revise, correct, supplement, modify, or clarify the content of his objections and responses below,

in accordance with the applicable Federal Rules of Civil Procedure and Federal Rules of

Evidence.

       Plaintiff construes Defendant’s definitions and instructions to request information within

his possession, custody, or control, consistent with the requirements of the Federal Rules of Civil

Procedure, and to not seek information that is already in the possession, custody or control of

Defendant, or that is obtainable from public sources or court records, from a source more
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convenient or less burdensome than from Plaintiff, or from a source equally accessible to

Plaintiff and Defendant.

       Plaintiff objects to the interrogatories to the extent that they seek information that is

protected by the attorney-client privilege, the work-product doctrine, the joint-defense or

common-interest privilege, the psychotherapist-patient privilege, the marital communications

privilege, or any other applicable law, regulation, privilege, immunity, or discovery protection,

or that are otherwise protected by disclosure under the Federal Rules of Civil Procedure and/or

Federal Rules of Evidence. In responding to these interrogatories, Plaintiff preserves all

objections and intends to make no waiver with regard to any claim of privilege. Plaintiff

reasonably interprets the instructions, definitions, and interrogatories to not seek information that

is privileged, and therefore outside of the scope of discovery as defined by Federal Rule of Civil

Procedure 26(b)(1), or protected as work product, which falls presumptively outside the scope of

discovery as set forth in Federal Rule of Civil Procedure 26(b)(3)(A).

       Plaintiff objects to the interrogatories to the extent that they purport to impose burdens or

obligations on Plaintiff that are broader than, inconsistent with, not authorized under, or not

reasonable pursuant to the applicable Federal Rules of Civil Procedure and Federal Rules of

Evidence. Plaintiff further reserves the right to assert additional objections which may become

apparent in the course of this action, including those based on undue burden.

       Plaintiff objects to the interrogatories as a whole and to each interrogatory contained

therein, to the extent that they are compound and a violation of the applicable Rules, which limit

Defendant’s interrogatories, including all discrete subparts. Plaintiff objects to the interrogatories

that exceed the permitted number of requests and/or include multiple questions on the basis that

they should not be considered a single interrogatory under the applicable Rules. Plaintiff will
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construe each interrogatory that contains multiple questions as individual interrogatories,

including discrete subparts.

         Subject to and without waiving the foregoing objections, Plaintiff responds as follows:

           SUPPLEMENTAL ANSWERS TO ALL INDIVIDUAL DEFENDANTS’
                           INTERROGATORIES

1. Identify every action taken by Defendants Cross, Cunningham, Guerrieri, and Rispky which
you claim supports your malicious prosecution claim as pled in your Complaint, and for each
action, state all witnesses and evidence supporting your claim. 1

         SUPPLEMENTAL RESPONSE: Plaintiff objects to this Interrogatory on the basis that

it is substantially overbroad, in asking Plaintiff to list all supporting witnesses and evidence to

support his contention regarding the malicious prosecution claim. Plaintiff also objects to the

extent that this Interrogatory seeks privileged or confidential information, including information

protected by the work-product privilege. Plaintiff further objects to this Interrogatory to the

extent to that it calls for a legal conclusion. Subject to and without waiving the foregoing

responses, Plaintiff states: at all relevant times, Defendants Cross, Cunningham, Guerrieri, and

Ripsky were police officers within the Naperville Police Department (“NPD”). Defendant Cross,

Cunningham, and Guerrieri were Detectives within the NPD, and Defendant Ripsky was a

Captain. After the death of Naperville resident Marianne Miceli, following an apartment fire on

September 10, 1995, Defendant Cross was placed in charge of the investigation into her death,

which he co-led with Defendant Guerrieri. Defendant Cunningham assisted with the

investigation. Defendant Ripsky was not officially involved with the investigation, but remained

in contact and communication with Defendants Cross and Guerrieri throughout the investigation

and assisted in providing information and direction about the investigation. Upon information



1
  Plaintiff supplements his answers to Individual Defendants’ Cross, Cunningham, Guerrieri, and Rispky
Interrogatory No. 1 in one collective response.
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and belief, as well as reasonable inference, Defendant Ripsky told Defendants Cross and

Guerrieri to investigate Plaintiff at the hospital in Naperville Marianne Miceli was transported to

after the fire on September 10, 1995.

        Plaintiff further states that almost immediately after the investigation into Ms. Miceli’s

death commenced, the Individual Defendants began to treat Plaintiff as a suspect, based on the

unsubstantiated belief that Mr. Amor intentionally started or facilitated the start of the fire which

caused Ms. Miceli’s death. Upon information and belief, In so doing, the Individual Defendants

perpetuated several acts which led to Plaintiff’s wrongful conviction for the death of Ms. Miceli.

Those acts included: Defendant Ripsky’s direction to Cross and Guerrieri to undertake the

investigation into William Amor; the continual interrogation of Plaintiff on several occasions by

Defendants Cross, Guerrieri, and Cunningham, despite a lack of physical evidence indicating he

started the fire; the facilitation by Individual Defendants of Plaintiff’s arrest on an unrelated

criminal charge, after several interrogations of Plaintiff and detailed questioning of his wife Tina

Miceli revealed no wrongdoing on part of Plaintiff; Defendant Cross and Guerrieri’s decision to

take Plaintiff to John Reid & Associates to receive hours of polygraph examinations directly

after Plaintiff was released from jail on that unrelated charge; Defendants Cross and Guerrieri’s

custodial interrogation of Plaintiff following the polygraph examinations at John Reid &

Associates; Defendants Cross and Guerrieri’s custodial interrogation at NPD following hours of

questioning and interrogations at John Reid & Associates; the coercion of a false, fabricated, and

suggested confession by Defendants Cross and Guerrieri from Plaintiff on how he allegedly

started the fire which killed Marianne Miceli; the decision by Defendants Cross and Guerrieri to

not test the forensic veracity of Plaintiff’s alleged method of starting the fire, despite knowledge

or strong belief on behalf of Defendant Cross and Guerrieri that the fire could not have been
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started in the way Plaintiff claimed; and the decision by Defendants Cross, Guerrieri, and

Cunningham to prepare false police reports and ultimately to provide false testimony against

Plaintiff at his criminal trial for the murder of Ms. Miceli. Further, the Individual Defendants

provided false information to Naperville Fire Department officials Kushner and Ferreri in order

to cause the preparation of a false cause and origin report from the Naperville Fire Department.

        Plaintiff refers Defendants to Pl. Amor 9154-11750, 11751-13611; DEFS 5886-5894,

11588-90, 11935, 12754-12761, 11273-11281, 12775, 12779-12788, 12976-12978. Plaintiff also

refers Defendants to the trial testimony of Defendants Cross, Guerrieri and Cunningham in 1997,

the retrial testimony of Defendants Cross, Guerrieri, and Cunningham in 2018, and the

deposition testimony of Defendant Cross, Defendant Guerrieri, Defendant Cunningham, Tina

Miceli, Michael Masokas, Mitchell Kushner, David Ferreri, and Plaintiff.

2. Identify every action taken by Defendants Cross, Cunningham, Guerrieri, and Rispky which
forms the basis of your fabrication claim, and for each action, state all witnesses and evidence
supporting your claim.2

        SUPPLEMENTAL RESPONSE: Plaintiff objects to this Interrogatory on the basis that

it is substantially overbroad, in asking Plaintiff to list all supporting witnesses and evidence to

support his contention regarding the fabrication of evidence claim. Plaintiff also objects to the

extent that this Interrogatory seeks privileged or confidential information, including information

protected by the work-product privilege. Plaintiff further objects to this Interrogatory to the

extent to that it calls for a legal conclusion. Subject to and without waiving the foregoing

responses, Plaintiff states: at all relevant times, Defendants Cross, Cunningham, Guerrieri, and

Ripsky were police officers within the Naperville Police Department (“NPD”). Defendant Cross,

Cunningham, and Guerrieri were Detectives within the NPD, and Defendant Ripsky was a


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   Plaintiff supplements his answers to Individual Defendants’ Cross, Cunningham, Guerrieri, and Rispky
Interrogatory No. 1 in one collective response.
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Captain. After the death of Naperville resident Marianne Miceli, following an apartment fire on

September 10, 1995, Defendant Cross was placed in charge of the investigation into her death,

which he co-led with Defendant Guerrieri. Defendant Cunningham assisted with the

investigation. Defendant Ripsky was not officially involved with the investigation, but remained

in contact and communication with Defendants Cross and Guerrieri throughout the investigation.

Upon information and belief, as well as reasonable inference, Defendant Ripsky told Defendants

Cross and Guerrieri to investigate Plaintiff at the hospital in Naperville Marianne Miceli was

transported to after the fire on September 10, 1995.

        Plaintiff further states that almost immediately after the investigation into Ms. Miceli’s

death commenced, the Individual Defendants began to treat Plaintiff as a suspect, based on the

unsubstantiated belief that Mr. Amor intentionally started or facilitated the start of the fire which

caused Ms. Miceli’s death. This belief caused the Individual Defendants to personally interrogate

Plaintiff, or to instruct other NPD officers to interrogate Plaintiff, in attempt to elicit inculpatory

statements from Plaintiff. Despite these attempts, Plaintiff consistently denied that he had set the

fire that killed Marianne Miceli. In response, Defendants worked together to produce a false and

fabricated confession from Plaintiff, by utilizing various methods, including mental and

emotional coercion throughout the course of the investigation. These attempts included: the

continual interrogation of Plaintiff by several NPD officers, as coordinated by Individual

Defendants; Defendant Cunningham’s suggesting to Plaintiff that the fire at the apartment was

started after he dropped a cigarette on a pile of vodka-soaked newspapers, despite Individual

Defendants knowing or believing that a fire could not be caused in that manner; and the

facilitation by Individual Defendants of Plaintiff’s arrest on an unrelated criminal charge, after
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several interrogations of Plaintiff and questioning of his wife Tina Miceli revealed no

wrongdoing on part of Plaintiff, which led Plaintiff to be placed in jail for several weeks.

       Plaintiff also states that Defendants engaged in an extended period of mentally and

physically coercive interrogation following Plaintiff’s release from jail on October 3, 1995. On

October 3, Defendants Cross and Guerrieri took Plaintiff to John Reid & Associates for several

rounds of interrogation and polygraph examinations. The interrogation and examinations by the

Reid & Associate technicians lasted for several hours. After the technicians were finished with

their questioning, Defendants Cross and Guerrieri then engaged in a round of custodial

interrogation on Plaintiff at the Reid & Associates office, without reading him his Miranda

rights. Following hours of interrogations at the Reid & Associates office, during which Plaintiff

was not allowed to eat or sleep, Defendants Cross and Guerrieri then took Plaintiff back to NPD

for further interrogation.

       Plaintiff further states that while at the NPD, Defendants Cross & Guerrieri interrogated

him for several hours. During that interrogation, Defendants engaged in several acts designed to

mentally and emotionally coerce a confession out of Plaintiff, including: facilitating the service

of divorce papers onto Plaintiff after the interrogation had begun, Defendant Cross becoming

verbally and physically aggressive with Plaintiff while in the interrogation room; and the

continual suggestion by Defendants Cross and Guerrieri that Plaintiff started the fire at Marianne

Miceli’s residence by dropping a cigarette on vodka soaked newspapers despite a knowledge or

belief that a fire could not be caused in such a manner. Defendants Cross and Guerrieri then

memorialized a false account of their interrogation of Plaintiff, which left out several key details

of the interrogation, including: Defendant Cross’s physical aggression against Plaintiff and the

serving of the divorce papers to Plaintiff in the course of the interrogation.
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        Plaintiff also states that Individual Defendants fabricated statements about their

interactions with Tina Miceli, including: (a) the allegation that Plaintiff stopped Tina Miceli from

speaking about whether or not she had knowledge of life insurance on Marianne Miceli, in

inferring that he bullied her or pressured her from speaking about it, and (b) statements within

NPD reports which claimed that Tina independently accused Plaintiff of starting the fire, without

any input from NPD officers – in conjecture with her family – pressuring her to state that he did

start the fire. Finally, the Individual Defendants provided false information to Naperville Fire

Department officials Kushner and Ferreri in order to cause the preparation of a false reports, such

as a false cause and origin report from the Naperville Fire Department.

        Plaintiff refers Defendants to Pl. Amor 9154-11750, 11751-13611; DEFS 5886-5894,

11588-90, 11935, 12754-12761, 11273-11281, 12775, 12779-12788, 12976-12978. Plaintiff also

refers Defendants to the trial testimony of Defendants Cross, Guerrieri and Cunningham in 1997,

the retrial testimony of Defendants Cross, Guerrieri, and Cunningham in 2018, and the

deposition testimony of Defendant Cross, Defendant Guerrieri, Defendant Cunningham, Michael

Masokas, Tina Miceli, Mitchell Kushner, David Ferreri, and Plaintiff.

3. Identify every action taken by Defendants Cross, Cunningham, Guerrieri, and Rispky which
forms the basis of your Fifth Amendment claim, and for each action, state all witnesses and
evidence supporting your claim. 3

        SUPPLEMENTAL RESPONSE: Plaintiff incorporates by reference his supplemental

response to Interrogatory No. 2 above.

4. Identify every action taken by Defendants Cunningham and Guerrieri which forms the basis of
your Fourteenth Amendment claim, including all actions which you claim shocks the conscience,
and for each action, state all witnesses and evidence supporting your claim.




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   Plaintiff supplements his answers to Individual Defendants’ Cross, Cunningham, Guerrieri, and Rispky
Interrogatory No. 1 in one collective response.
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5. Identify every action taken by Defendants Cross and Rispky which forms the basis of your
Fourteenth Amendment claim, including all actions which you claim shocks the conscience, and
for each action, state all witnesses and evidence supporting your claim.4

         SUPPLEMENTAL RESPONSE: Plaintiff provides a joint supplemental answer to

Interrogatories 4 and 5 as follows:

         Plaintiff incorporates by reference his supplemental response to Interrogatory No. 1 and

No. 2 above. Plaintiff further states that Individual Defendants specifically deprived Plaintiff of

his constitutional right to due process by deliberating fabricating and causing to be prepared false

and fabricated reports regarding his interrogation and confession, which they knew or had reason

to believe would be used in criminal proceedings against Plaintiff.

         Plaintiff also states that several actions by Individual Defendants “shock the conscience,”

including: Individual Defendants continual pursuit of Plaintiff as a suspect during the arson

investigation, despite a lack of physical evidence and his continual insistence on his innocence,

Defendant Cross and Guerrieri’s extensive custodial interrogation of Plaintiff on October 3-4,

1995; Defendant Cross and Guerrieri’s decision to arrest Plaintiff, despite a knowledge or belief

that the manner in which he confessed to starting the fire was not scientifically possible;

memorializing false police reports against Plaintiff; the decision by Defendants Cross, Guerrieri,

and Cunningham to provide false testimony against Plaintiff at his criminal trial for the murder

of Ms. Miceli; the fabrication of evidence regarding the Individual Defendants interactions with

Tina Miceli; and the providing of false information by Individual Defendants to Naperville Fire

Department officials Kushner and Ferreri, in order to cause the preparation of a false reports,

such as a false cause and origin report from the Naperville Fire Department.




4
  Plaintiff supplements his answers to Individual Defendants’ Cunningham and Guerrieri’s Interrogatory No. 4 and
Individual Defendants Cross and Cunningham Interrogatory No. 5 in one collective response.
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5. Identify every action taken by Defendants Cunningham and Guerrieri which you claim for the
purposes of this lawsuit, is a basis for your claim of injury and for each identify (a) the date of
the occurrence; (b) the nature of the occurrence; (c) any witnesses to the occurrence; and (d) all
documents referring, reflecting or otherwise relating to the occurrence.

6. Identify every action taken by Defendants Cross and Ripsky which you claim for the purposes
of this lawsuit, is a basis for your claim of injury and for each identify (a) the date of the
occurrence; (b) the nature of the occurrence; (c) any witnesses to the occurrence; and (d) all
documents referring, reflecting or otherwise relating to the occurrence. 5

        SUPPLEMENTAL RESPONSE: Plaintiff provides a joint supplemental response to

Interrogatories 5 and 6 as follows:

        Plaintiff incorporates by reference his supplemental responses to the Interrogatories

above. Plaintiff further states that: from September 10, 1995 to October 4, 1995, Individual

Defendants pursued a criminal investigation into the death of Marianne Miceli, wherein Plaintiff

was the primary, and indeed only, suspect, despite a lack of physical evidence tying him to the

alleged crime, credible information from Tina Miceli that he had no role in the crime, and his

own consistent statements as to his innocence. On October 3, 1995, Defendants Cross and

Guerrieri, in consultation with Defendants Cunningham and Ripsky, took Plaintiff to John Reid

& Associates for several rounds of interrogation and polygraph examinations, over the course of

several hours. Defendants Cross and Guerrieri then engaged in a round of custodial interrogation

on Plaintiff at the Reid & Associates office, without reading him his Miranda rights. Following

hours of interrogations at the Reid & Associates office, during which Plaintiff was not allowed to

eat or sleep, Defendants Cross and Guerrieri then took Plaintiff back to NPD for further

interrogation. While at the NPD, Defendants Cross & Guerrieri interrogated him for several

hours. During that interrogation, Defendants engaged in several acts designed to mentally and

emotionally coerce a confession out of Plaintiff.


55 Plaintiff supplements his answers to Individual Defendants’ Cunningham and Guerrieri’s Interrogatory No. 5 and
Individual Defendants Cross and Cunningham Interrogatory No. 6 in one collective response.
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       Plaintiff also states that throughout the course of the investigation, Defendants Cross,

Cunningham, and Guerrieri deliberately fabricated reports regarding their interrogations of

Plaintiff, as well as his eventual false confession, which they knew or had reason to believe

would be used in criminal proceedings against Plaintiff. Defendants Cross, Guerrieri, and

Cunningham then provided false testimony against Plaintiff at his criminal trial for the murder of

Ms. Miceli.

       Plaintiff refers Defendants to his 26(a)(1) disclosures. Plaintiff also refers Defendants to

Pl. Amor 9154-11750, 11751-13611; DEFS 5886-5894, 11588-90, 11935, 12754-12761, 11273-

11281, 12775, 12779-12788, 12976-12978. Plaintiff also refers Defendants to the trial testimony

of Defendants Cross, Guerrieri and Cunningham in 1997, the retrial testimony of Defendants

Cross, Guerrieri, and Cunningham in 2018, and the deposition testimony of Defendant Cross,

Defendant Guerrieri, Defendant Cunningham, Tina Miceli, Michael Masokas, Shelley Williams,

Mitchell Kushner, David Ferreri, and Plaintiff.

                                              Respectfully Submitted,

                                              BILL AMOR

                                              By: /s/ Mariah Garcia


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                                CERTIFICATE OF SERVICE
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        I, Mariah Garcia, an attorney, certify that on November 16, 2020, I delivered a copy of
the attached Plaintiff’s Supplemental Responses to Individual Defendants’ First Sets of
Interrogatories to counsel of record via email.


                                                            /s/ Mariah Garcia
                                                            Counsel for Plaintiff
